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 2
                               UNITED STATES DISTRICT COURT
 3
                              CENTRAL DISTRICT OF CALIFORNIA
 4
 5                                             Case No. 2:21-cv-04564-SB-KK
      L-NUTRA, INC.,
 6
 7                               Plaintiff,
 8                                                 FINAL JUDGMENT
      v.
 9
10    PREVAIL SOLUTIONS, LLC,

11                               Defendant.
12
13
14         For the reasons set forth in the separate Order Granting Defendant’s Motion to
15   Dismiss entered this day, it is
16         ORDERED AND ADJUDGED that Plaintiff L-Nutra, Inc.’s claims against
17   Defendant Prevail Solutions, LLC are DISMISSED without prejudice for lack of
18   personal jurisdiction.
19         This is a Final Judgment.
20
21   Dated: October 13, 2021           _______________________________________
22                                          STANLEY BLUMENFELD, JR.
                                          UNITED STATES DISTRICT JUDGE
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